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     1       DECLARATION OF SUPERVISORY SPECIAL AGENT JESSIE MURRAY
     2          I, Supervisory Special Agent jessie Munay, declare as follows:
     3          1.       I am a Supervisory Special Agent with the FBI.
     4          2.       The FBI never initiated administrative forfeiture proceedings on Asset ID
     5    No. 21-FBI-003061, which is $23,494.00 in U.S. Cunency. Accordingly, the FBI has
     6    not received an administrative claim for those funds. Instead, those funds are slated for
     7    retmn.
     8          3.       The FBI initiated administrative forfeiture proceedings on Asset ID No. 21-
     9    FBI-003437, which is Miscellaneous Precious Items from Box 110. 'The FBI has been
    10    instructed to return these items, and that a judicial forfeiture action will not be filed as to
    11    these items.
    12          I declare under penalty of perjury under the laws of the United States of America
    13    that the foregoing is true and correct.
    14          Executed in Los Angeles, California on August3 0, 2021.
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